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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

    UNITED STATES OF AMERICA,                     )
                                                  )
    v.                                            ) INDICTMENT NO.: 4:21-CR-00031
                                                  )
    NIHAD AL JABERI,                              )
                                                  )
         Defendant.                               )

             SENTENCING MEMORANDUM OF MR. NIHAD AL JABERI

           Mr. Nihad Al Jaberi, the defendant in the above-styled case, will soon stand

before the Court at sentencing.              He now respectfully submits this Sentencing

Memorandum to assist the Court in its task of imposing a sentence that is “sufficient

but not greater than necessary.” See 18 U.S.C. § 3553 (2022).

I.         Personal History and Characteristics of Mr. Al Jaberi.

           Mr. Al Jaberi submits that the trial of this case did not even begin to paint an

accurate picture of him and his life. He is not a dangerous terrorist or a smuggler

intending to harm anyone.1

           Rather, pushing past the caricature of him at trial, Mr. Al Jaberi is a devoted

husband and father and a legal immigrant who came to this country after living in a

worn-torn country and being threatened by the local militias in Iraq.2

           As to the loving relationship between Mr. Al Jaberi and his wife of 15 years,

Rasha, she writes to the Court that “I urge you to please see him as I see him, a loving


1       Indeed, as the defense pointed out at trial, the government did not link Mr. Al Jaberi to anyone
or any organization in Iraq, did not put forward any evidence of payment for shipping firearms, or any
evidence of communication about the firearms with anyone in Iraq.
2       See Final Presentence Investigation Report (“PSI”), ¶ 63.
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husband and father. A man whose wife and kids need him.” 3 In the same tone, Mr.

Al Jaberi’s three young children, Fahad, Shaheed, and Mustafa, have submitted a

deeply moving letter the Court:4




       The other letters submitted in support of Mr. Al Jaberi describe him as “a good

and generous person,”5 a “kind, lovable, humanitarian, cooperative and kind-hearted

person,”6 and as “a good and generous person who helps people and loves life.” 7

Indeed, these are the true characteristics of Mr. Al Jaberi.

       Not surprisingly, then, these characteristics are most reflective of the life that

Mr. Al Jaberi lived prior to his arrest in this case. As described by his brother, Mr.

Al Jaberi “was committed to the values of life and sanctifies work and all his relatives

and friends love him and he has no hostile behavior or criminal or judicial history in

his country of Iraq and lives in a balanced manner …”8 And since Mr. Al Jaberi

arrived in the United States, he has no arrest history or criminal history. 9 He has




3      Various letters of support submitted in support of Mr. Al Jaberi, including the letter from his
wife Rasha, are attached hereto as Exhibit 1.
4      See Exhibit 1.
5      See Exhibit 1, Letter from Lubna Al Badr.
6      See Exhibit 1, Letter from Batoul Al Jabri.
7      See Exhibit 1, Letter from Ammar Al Jabri.
8      See id.
9      PSI, ¶ 55-60.

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never used or abused illegal drugs or alcohol.10 Mr. Al Jaberi has lived life contrary

to the stereotypical smuggler, a life which shows he had too much to give up to

intentionally seek to hurt anyone.

       To come to the United States, Mr. Al Jaberi “went to the U.S. Embassy in Iraq

to save his family after receiving threats from the militia.”11 Thereafter, Mr. Al Jaberi

“obtained legal permanent resident status in the United States on August 18, 2016.” 12

As noted by Mr. Al Jaberi’s wife, Rasha, “[m]oving across the ocean to a foreign land,

with a foreign language and culture took a big toll on our family. We wanted a

peaceful and dignified life. We wanted to give our children a safe home and we

wanted them to grow up with luxuries we unfortunately never had back home.”13

       Despite the image portrayed at trial, Mr. Al Jaberi is known by others as a

kind, loving, and helpful husband and father who has never engaged in criminal

conduct. Mr. Al Jaberi pleads with the Court to consider the descriptions of those

that know him best as it imposes a sentence in this case.

II.    Mr. Al Jaberi’s Enumerations of Error Should be Considered in
       Imposing the Sentence.

       As detailed in the PSI, Mr. Al Jaberi did not enter into a plea agreement and

chose to proceed to trial. Mr. Al Jaberi now submits that the Court should consider

the following points from trial in forming and imposing a sentence:14


10      PSI, ¶ 69.
11      PSI, ¶ 63.
12      Id.
13      See Exhibit 1, Letter from Rasha Al-Rubaye.
14      These are appropriate considerations for sentencing under 18 U.S.C. § 3661 (2022) (stating
that “No limitation shall be placed on the information concerning the background, character, and
conduct of a person convicted of an offense which a court of the United States may receive and consider
for the purpose of imposing an appropriate sentence”).

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•   At trial, a government witness changed the caliber of one of the firearms
    from a .44 caliber firearm to a .50 caliber firearm. Mr. Al Jaberi believes
    this misstatement unduly prejudiced him before the jury because a .50
    caliber firearm sounds more militaristic than a .44 caliber firearm and
    made him more guilty in the jury’s mind. As shown at trial, through the
    government’s own exhibits, the firearms in the case were purchased at
    easily accessible public sporting-goods stores and were not military-style
    firearms. Even so, Mr. Al Jaberi submits that the government scared the
    jury by brining in the firearms and presenting them before them as “tactical
    weapons.”

•   At trial, Mr. Al Jaberi submits that the recordings produced and introduced
    before the jury were not complete or accurate and that the recordings had
    been edited to make him look guilty.

•   Mr. Al Jaberi submits that there were too many inconsistencies and
    contradictory evidence in the government case for him to have been
    convicted, including, but not limited to:

       o The location of the stove box containing the disassembled firearms
         was contradicted by the government witness: the first witness that
         was present during the unloading of the container testified that the
         box was all the way in the back of the container and a later
         government witness testified that the box was in the middle of the
         container in front of several cars;

       o That the witness from North Atlantic Logistics presented at trial was
         not the individual that Mr. Al Jaberi dealt with, and, in any event,
         that witness testified that it was not Mr. Al Jaberi that North
         Atlantic Logistics relied upon in making and submitting the relevant
         documents;

       o That the timeline of the shipping container leaving the loading
         company and arriving at the port of Savannah does not support the
         government’s theory of the case and shows that the shipping
         company had the information prior to the bill of lading being e-
         mailed by Mr. Al Jaberi to North Atlantic Logistics;

       o That the prosecutor referenced other individuals, including
         Mahmood Al Tayyar and Ashraf Taha, as refugees, when those
         individuals had obtained citizenship or were working to gain
         citizenship and another, Eugene McNair, was an American citizen;




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              o That the government witness could not and did not properly explain
                the images of the Bill of Lading found on Mr. Al Jaberi’s cellular
                phone and presented as Government’s Ex. 27-033 and when cross
                examined, the government witnesses could only testify “I don’t
                know.”

       •   Mr. Al Jaberi submits that the jury should not have convicted him because
           the government’s investigation focused and stopped with Mr. Al Jaberi and
           the government did not investigate the loading company and did not bring
           the loading company to the trial even though the government had
           documents, such as the bill of lading and the dock receipt, which showed
           the loading company’s involvement and responsibility for loading the
           container and for making the reports and paperwork to be forwarded to the
           shipping company. There are recorded calls on the jail phone line between
           Mr. Al Jaberi and the owner of the loading company, but Mr. Al Jaberi did
           not want to introduce them at trial because he “did not want to hurt
           anyone.”

Mr. Al Jaberi submits that these points should be considered in imposing a sentence

that is just and sufficient, but not greater than necessary in this case.

III.   Conclusion.

       For the reasons detailed above, Mr. Nihad Al Jaberi respectfully requests that

the Court follow its duty to impose a sentence that is “sufficient but not greater than

necessary.” See 18 U.S.C. § 3553 (2022).

       Respectfully submitted, this 8th day of July, 2022.

                                               CROWDER STEWART LLP

                                               /s/ C. Troy Clark

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                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day served the foregoing SENTENCING

MEMORANDUM on all the parties in this case in accordance with the notice of

electronic filing (CM/ECF) which was generated as a result of electronically filing this

document with the Court.


      This 8th day of July, 2022.

                                               CROWDER STEWART LLP

                                               /s/ C. Troy Clark

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